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                       1 J. TONY SERRA, SBN 32639
                           EAN VIZZI, SBN 209444
                       2 506 Broadway
                           San Francisco CA 94133
                       3 Telephone: 415/986-5591

                       4 Attorneys for Defendant
                           DAVID CHAVEZ JR.
                       5

                       6                          UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF CALIFORNIA
                       7                                 FRESNO DIVISION

                       8 UNITED STATES OF AMERICA,

                       9                  Plaintiff,              CR 07-192- AWI

                      10            v.                            STIPULATION AND ORDER MODIFYING
                                                                  DEFENDANT’S CONDITIONS OF
                      11 DAVID CHAVEZ JR.,                        PRETRIAL RELEASE

                      12                  Defendant.
                                                        /
                      13

                      14            THE PARTIES HEREBY STIPULATE AND AGREE that the conditions

                      15 of pretrial release for defendant DAVID CHAVEZ, JR. may be

                      16 modified as follows:

                      17            Defendant shall be allowed to MAINTAIN OR COMMENCE AN

                      18 EDUCATIONAL PROGRAM.

                      19            All other terms and conditions shall remain in full
                      20 effect.         Pretrial Services Officer Dan Stark has been consulted

                      21 and has agreed to this modification of pretrial release.

                      22

                      23  /s/ EAN VIZZI                            /s/ KATHLEEN SERVATIUS
                         EAN VIZZI                                KATHLEEN SERVATIUS
                      24 Attorney for Defendant                   Assistant United States Attorney
                         DAVID CHAVEZ, JR.
                      25

                      26 IT IS SO ORDERED.

                      27 Dated:     August 5, 2008                   /s/ Anthony W. Ishii
LAW OFFICES                0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
506 BROADW AY         28
SAN FRANCISCO
  (415) 986-5591
Fax: (415) 421-1331
